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           IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                 8:06CR207
                              )
          v.                  )
                              )
AARON MIRANDA-QUIROZ,         )                       ORDER
                              )
               Defendant.     )
______________________________)


           The Court is advised that defendant wishes to enter a

plea in this matter.     Accordingly,

           IT IS ORDERED that a Rule 11 hearing is scheduled for:

                Friday, August 11, 2006, at 1 p.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska.

           DATED this 7th day of August, 2006.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
